   Case 9:23-mc-80701-RLR Document 1-1 Entered on FLSD Docket 04/25/2023 Page 1 of 12
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Northern District
                                                       __________  DistrictofofCalifornia
                                                                                __________

                      MATT JONES, et al.                                       )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      5:22-cv-04486-BLF-SVK
                                                                               )
                        PGA TOUR, INC.                                         )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                    Cameron Young

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV

 Place: Veritext Court Reporting                                                       Date and Time:
           1400 Centrepark Blvd., Suite 605                                                              05/01/2023 9:00 am
           West Palm Beach, FL 33401

          The deposition will be recorded by this method:                     Stenographic, audio, video, real-time reporting

       ✔
       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                       See Attachment A. Please produce any responsive documents by April 18, 2023.



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/30/2023
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)   LIV GOLF, INC.
                                                                        , who issues or requests this subpoena, are:
Rachel Brass, Gibson Dunn & Crutcher LLP, 555 Mission St., San Francisco, CA 94105, rbrass@gibsondunn.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 5:22-cv-04486-BLF-SVK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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            1                                              ATTACHMENT A

            2                                                DEFINITIONS

            3           For the purposes of interpreting and adhering to the Requests for Production and Instructions

            4    herein, the following definitions shall apply:

            5           1.      The terms “You” and “Your” refer to Cameron Young, and includes without any

            6    limitation any other person or entity acting on Your behalf.

            7           2.      “Augusta National” means Augusta National, Inc., Augusta National Golf Club, The

            8    Masters, members of Augusta National Golf Club, and includes its past and present directors, officers,

            9    agents, predecessors, successors, assigns, representatives, general partners, limited partners,

          10     employees, subsidiaries and parent companies, sister companies, and affiliated entities, and also

          11     includes individuals and entities who act, have acted, purport to act, or have purported to act on behalf

          12     of Augusta National.

          13            3.      “Communication,” or any variant thereof, means any contact between two or more

          14     persons by which any information or knowledge is transmitted or conveyed, or is attempted to be

          15     transmitted or conveyed, between two or more persons and shall include, without limitation, written

          16     contact by means such as emails, text messages, iMessages, WhatsApp messages, Slack messages,

          17     Facebook Messenger, Google Chat, Viber, Signal, Line, WeChat, Snapchat, Telegram, Microsoft

          18     Teams, Zoom, social media direct messages, instant messages, letters, memoranda, telegrams,

          19     telecopies, telexes, or any other document, and any oral contact, such as face-to-face meetings or

          20     telephone conversations.

          21            4.      “Competition Agency” refers to any Federal or State agency or person charged with

          22     enforcing or empowered to enforce competition-related statutes or policies, including but not limited

          23     to the Federal Trade Commission and Department of Justice.

          24            5.      “Document” has the broadest meaning ascribed to it under the Federal Rules of Civil

          25     Procedure and includes the original and each non-identical copy of any written, printed, typed, filmed,

          26     recorded (electronically or otherwise), or other graphic matter of any kind or description, photographic

          27     matter, sound recordings, or reproductions, however produced or reproduced, whether draft or final, as

          28                                                        1
Gibson, Dunn &                       PLAINTIFF’S SUBPOENA DUCES TECUM TO JAMES HAHN
Crutcher LLP                                          5:22-cv-04486-BLF
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            1
                 well as any summarization, compilation, or index of any documents. The term “document” includes,
            2
                 but is not limited to, letters, memoranda, reports, evaluations, x-rays, work records, studies, analyses,
            3
                 tabulations, graphs, logs, work sheets, work papers, medical records, correspondence, photographs,
            4
                 videotapes, films, slides, negatives, summaries, files, records, Communications, agreements, contracts,
            5
                 invoices, checks, journals, ledgers, telegrams, telexes, hand-written notes, periodicals, pamphlets,
            6
                 computer or business machine printouts, accountants’ work papers, accountants’ statements and
            7
                 writings, notations or records of meetings, printers’ galleys, books, papers, speeches, public relations
            8
                 issues, advertising, materials filed with government agencies, office manuals, employee manuals or
            9
                 office rules and regulations, reports of experts, and any other written matter. A draft or non-identical
          10
                 copy is a separate document within the meaning of this term. Documents shall include any
          11
                 Communication memorialized in written, electronic, or recorded means.
          12
                        6.      “European Tour” and/or “DP World Tour” means the PGA European Tour, PGA
          13
                 European Tour, Inc., the European Tour, and DP World Tour and includes its past and present directors,
          14
                 officers, agents, predecessors, successors, assigns, representatives, general partners, limited partners,
          15
                 employees, subsidiaries and parent companies, sister companies, and affiliated entities, and also
          16
                 includes individuals and entities who act, have acted, purport to act, or have purported to act on behalf
          17
                 of the European Tour. “European Tour” also includes any term, nickname, codename, project name or
          18
                 abbreviation that relate to European Tour or are used by You or Your agents to refer to European Tour.
          19
                        7.      “LIV Golf” means LIV Golf, Inc., LIV Golf, Ltd., LIV Golf, Holdings Ltd., LIV Golf
          20
                 Investments Ltd., LIV Golf, LIV Golf International Series, LIV Golf Invitational Series, and includes
          21
                 its past and present directors, officers, agents, predecessors, successors, assigns, representatives,
          22
                 investors, general partners, limited partners, employees, subsidiaries and parent companies, sister
          23
                 companies, and affiliated entities, and also includes individuals and entities who act, have acted,
          24
                 purport to act, or have purported to act on behalf of Plaintiff LIV Golf Inc. “LIV Golf” also includes
          25
                 any term, nickname, codename, project name or abbreviation that relate to LIV Golf or are used by
          26
                 You or Your agents to refer to LIV Golf.
          27
                        8.      “New Tour” means any prospective or any new professional golf tour or league or
          28
                 promoter of professional golf events, including but not limited to LIV Golf, PGL, SGL, P54, the
Gibson, Dunn &                                                   2
Crutcher LLP                      PLAINTIFF’S SUBPOENA DUCES TECUM TO CAMERON YOUNG
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            1
                 prospective entrant(s) identified as “Private Equity Golf” in Commissioner Monahan’s January 24,
            2
                 2020 memorandum to the PGA Tour Policy Board, the entity or entities that Commissioner Monahan
            3
                 has described as the “Saudi Golf League,” or any other prospective or actual professional golf promoter
            4
                 or professional golfer services buyer. “New Tour” also includes any term, nickname, codename, project
            5
                 name or abbreviation that relate to a New Tour or are used by You or Your agents to refer to a New
            6
                 Tour or players playing or considering playing in a New Tour.
            7
                        9.       “OWGR” means the OWGR, Ltd., Official World Golf Rankings, and includes its past
            8
                 and present directors, members, officers, agents, predecessors, successors, assigns, representatives,
            9
                 general partners, limited partners, employees, subsidiaries and parent companies, sister companies, and
          10
                 affiliated entities, and also includes individuals and entities who act, have acted, purport to act, or have
          11
                 purported to act on behalf of the OWGR, Ltd.
          12
                        10.      “PGA 2.0,” or any variant thereof, means PGA 2.0, PGA Tour 2.0, Project 2.0, or any
          13
                 other term or name used to refer to an entity to own, manage, control, operate, fund, service, administer,
          14
                 or house Designated Events, the Champions Series, or any other asset, tournament, event or asset to be
          15
                 used in conjunction with such Designated Events or the Champions Series or the same concept by
          16
                 another name.
          17
                        11.      “PGA of America” or any variant thereof, means the Professional Golfers Association
          18
                 of America (or PGAA), and includes its past and present directors, officers, agents, predecessors,
          19
                 successors, assigns, representatives, general partners, limited partners, employees, subsidiaries and
          20
                 parent companies, sister companies, and affiliated entities, and also includes individuals and entities
          21
                 who act, have acted, purport to act, or have purported to act on behalf of the PGA of America.
          22
                        12.      “PGA Tour” means PGA Tour, Inc., and includes its past and present directors during
          23
                 the period when they were directors, members of its Policy Board, officers, agents, predecessors,
          24
                 successors, assigns, representatives, general partners, limited partners, employees, subsidiaries and
          25
                 parent companies, sister companies, and affiliated entities, and also includes individuals and entities
          26
                 who act, have acted, purport to act, or have purported to act on behalf of PGA Tour, Inc.
          27
                        13.      “PGA Tour Designated Events,” or any variant thereof, means the professional golf
          28
                 tournaments on the PGA Tour that the PGA Tour has designated for higher purses and which the PGA
Gibson, Dunn &                                                 3
Crutcher LLP                       PLAINTIFF’S SUBPOENA DUCES TECUM TO CAMERON YOUNG
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            1
                 Tour describes as either “designated events” or “elevated events.”
            2
                        14.     “Premier Golf League,” “PGL,” “Tour de Force,” “World Golf Series,” or any
            3
                 variant thereof, means Premier Golf League and includes its past and present directors, officers, agents,
            4
                 predecessors, successors, assigns, legal representatives, non-legal representatives, personal
            5
                 representatives, consultants, general partners, limited partners, employees, subsidiaries and parent
            6
                 companies, sister companies, and affiliated entities, and also includes individuals and entities who act,
            7
                 have acted, purport to act, or have purported to act on behalf of Premier Golf League. “Premier Golf
            8
                 League” also includes any term, nickname, codename, project name or abbreviation that relate to
            9
                 Premier Golf League or are used by Raine Capital or its agents to refer to Premier Golf League.
          10
                        15.     The phrases “relate to,” “related to,” and “relating to,” or any variant thereof, include,
          11
                 but are not limited to, the following meanings: referring to, supporting, located in, considered in
          12
                 connection with, bearing, bearing on, evidencing, indicating, reporting on, recording, alluding to,
          13
                 responding to, concerning, opposing, favoring, connected with, commenting on, in respect of, about,
          14
                 regarding, discussing, showing, describing, reflecting, analyzing, constituting, and being.
          15
                        16.     “Royal & Ancient” or any variant thereof, means the R&A, R&A Championships
          16
                 Limited, Company; R&A Group Services Limited, Company; R&A Rules Limited, Company; The
          17
                 R&A, and includes its past and present directors, officers, agents, predecessors, successors, assigns,
          18
                 representatives, general partners, limited partners, employees, subsidiaries and parent companies, sister
          19
                 companies, and affiliated entities, and also includes individuals and entities who act, have acted,
          20
                 purport to act, or have purported to act on behalf of Royal & Ancient.
          21
                        17.     “Strategic Alliance” or any variant thereof, means the agreement(s) by and between
          22
                 the European Tour and the PGA Tour, and includes but is not limited to the agreements announced in
          23
                 November 2020 and referred to as the Strategic Alliance in the PGA Tour’s press release dated
          24
                 November 27, 2020, and as a joint venture in June 2022 . “Strategic Alliance” also includes any term,
          25
                 nickname, codename, project name or abbreviation that relate to Strategic Alliance or are used by You
          26
                 or Your agents to refer to Strategic Alliance.
          27
                        18.     “TGL” or any variant thereof, means TGL and includes its past and present directors
          28
                 during the period in which they were directors, officers, agents, predecessors, successors, assigns, legal
Gibson, Dunn &                                                       4
Crutcher LLP                      PLAINTIFF’S SUBPOENA DUCES TECUM TO CAMERON YOUNG
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            1
                 representatives, nonlegal representatives, personal representatives, general partners, limited partners,
            2
                 employees, subsidiaries and parent companies, sister companies, and affiliated entities, and also
            3
                 includes individuals and entities who act, have acted, purport to act, or have purported to act on behalf
            4
                 of TGL.
            5
                        19.     “This Litigation” refers to the following action: Jones, et al. v. PGA Tour, Inc., No.
            6
                 5:22-cv-04486-BLF, filed in the United States District Court for the Northern District of California.
            7
                        20.     “USGA” means the United States Golf Association, and includes its past and present
            8
                 directors, officers, agents, predecessors, successors, assigns, representatives, general partners, limited
            9
                 partners, employees, subsidiaries and parent companies, sister companies, and affiliated entities, and
          10
                 also includes individuals and entities who act, have acted, purport to act, or have purported to act on
          11
                 behalf of the United States Golf Association.
          12
                        21.     For purposes of interpreting or construing the scope of the Requests for Production
          13
                 contained herein, all terms shall be given their most expansive and inclusive interpretation. In order to
          14
                 bring within the scope of these Requests for Production all information that might otherwise be
          15
                 construed to be outside of their scope, the following rules of construction apply:
          16
                                a. the singular shall include the plural and vice versa;
          17
                                b. the masculine, feminine or neuter pronoun shall not exclude other genders;
          18
                                c. the connectives “and” and “or” shall be construed either disjunctively or
          19
                                    conjunctively as necessary to bring within the scope of the Request all responses
          20
                                    that might otherwise be construed to be outside its scope;
          21
                                d. the terms “any,” “all,” and “each” shall each be construed as encompassing any and
          22
                                    all;
          23
                                e. the word “including” shall be read to mean including without limitation;
          24
                                f. the present term shall be construed to include the past term and vice versa; and
          25
                                g. references to employees, officers, directors, or agents shall include both current and
          26
                                    former employees, officers, directors, and agents.
          27
                        22.     Notwithstanding the above, for any undefined term which You reasonably and on a
          28
                 good-faith basis contend is vague or ambiguous, You shall note the alleged vagueness or ambiguity in
Gibson, Dunn &                                                    5
Crutcher LLP                      PLAINTIFF’S SUBPOENA DUCES TECUM TO CAMERON YOUNG
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            1
                 Your response and then apply the ordinary dictionary definition of said term, considering the context
            2
                 in which the term is used. Vagueness or ambiguity in this respect shall not be a basis for You to
            3
                 withhold or otherwise fail to search for and produce otherwise responsive Documents or
            4
                 Communications.
            5
                                                           INSTRUCTIONS
            6
                        The following Instructions shall govern Your responses and objections to the Requests for
            7
                 Production contained herein:
            8
                        1.      In responding to these Requests for Production, You should produce all Documents and
            9
                 Communications in Your possession, custody, or control, and all Documents and Communications
          10
                 reasonably available to You, including Documents and Communications in the possession, custody, or
          11
                 control of Your present and former consultants, investigators, accountants, agents, representatives, or
          12
                 other persons acting on Your behalf.
          13
                        2.      All non-privileged Documents and Communications requested herein should be
          14
                 produced in their entirety, with all attachments and enclosures, regardless of whether You consider the
          15
                 attachments and enclosures to be relevant to This Litigation.
          16
                        3.      Documents and Communications responsive to the Requests for Production shall be
          17
                 produced as they have been kept in the ordinary course of business, including the file labels and other
          18
                 identifying information concerning the source or custodian of the Document or Communication.
          19
                        4.      Responsive Documents and Communications should be clearly designated so as to
          20
                 reflect their owner and/or custodian and the location from where they were produced.
          21
                        5.      In the event You are able to produce only some of the Documents called for in a
          22
                 particular Request for Production, You should produce all the Documents and Communications
          23
                 available and state the reason(s) for Your inability to produce the remainder.
          24
                        6.      If there are no Documents or Communications responsive to any Request for
          25
                 Production, You should so state in writing. If a Document or Communication requested is no longer
          26
                 existing or available, You should so state in writing, and identify in detail why such Documents or
          27
                 Communications are unavailable.
          28
                        7.      If You object to a portion of any Request for Production, You should produce all
Gibson, Dunn &                                                   6
Crutcher LLP                      PLAINTIFF’S SUBPOENA DUCES TECUM TO CAMERON YOUNG
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            1
                 Documents and Communications called for by the portion(s) of the Request for Production to which
            2
                 You do not object.
            3
                        8.      If any responsive Document or Communication is withheld from production under a
            4
                 claim of privilege or other legal protection against disclosure, You shall state for each Document or
            5
                 Communication so withheld:
            6
                                a. The claimed nature of the privilege or other ground for withholding disclosure (e.g.,
            7
                                      attorney client privilege or work product doctrine); and
            8
                                b. The following information:
            9
                                         i. the type of Document or Communication that has been withheld (e.g., letter
          10
                                             or memorandum);
          11
                                         ii. a description of the subject matter of the Document or Communication
          12
                                             sufficient to support and explain the basis for the privilege or other legal
          13
                                             protection claimed;
          14
                                         iii. the date of the Document or Communication that has been withheld;
          15
                                         iv. the author of the Document or Communication and any other recipients, and,
          16
                                             where not apparent, the relationship between the author and recipients.
          17
                        9.      If any information is redacted from a Document or Communication produced in
          18
                 response to a Request for Production, You shall identify the redaction by stamping the word “Redacted”
          19
                 on the Document or Communication at each place where information has been redacted and by
          20
                 separately logging for each redaction the grounds for asserting a privilege or other legal protection
          21
                 against disclosure of the redacted information.
          22
                        10.     Responsive Documents and Communications kept in an electronic form (including, but
          23
                 not limited to, email, web pages, text messages, and .html files) should be retrieved in their native
          24
                 format and produced either in the native format in which they are ordinarily maintained or in a
          25
                 reasonably usable form in accordance with ESI Production Specifications agreed by the parties.
          26
                        11.     Responsive Documents and Communications kept in paper or other non-electronic form
          27
                 should be scanned at a resolution of 300 dots per inch, producing the following:
          28

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            1
                                a. Single-page “.TIF” image files with Group IV compression. Each .TIF image will
            2
                                    be endorsed in the lower-right corner with a unique production number and each
            3
                                    .TIF file name will be identical to that production number.
            4
                                b. An IPRO “.LFP” image load file containing the physical document boundaries of
            5
                                    the original paper documents.
            6
                                c. A “.TXT” file containing the OCR (optical character recognition) text of each
            7
                                    imaged page or document.
            8
                        12.     These Requests for Production are to be deemed continuing requests, and responsive
            9
                 Documents and Communications that are discovered subsequent to an initial production should
          10
                 nevertheless be promptly produced in the same manner as the initial production.
          11
                        13.     These Requests are not intended to be duplicative. If You produce a Document in
          12
                 response to one Request, then You need not produce it in response to another Request.
          13
                        14.     Unless otherwise specified in a particular Request for Production, the time period
          14
                 relevant for these Requests for Production is January 1, 2021 to the present.
          15
                        15.     You are directed to produce any responsive materials no later than April 18, 2023, and
          16
                 to deliver those materials in the following manners, unless otherwise agreed by the parties:
          17
                                a. For electronic Documents and Communications, by emailing or otherwise
          18
                                    electronically transmitting them to Rachel Brass at rbrass@gibsondunn.com.
          19
                                b. For paper Documents and Communications that cannot be delivered electronically,
          20
                                    or which You object to delivering electronically, by mailing or otherwise delivering
          21
                                    them to the offices of VERITEXT, c/o Rachel Brass, 1400 Centrepark Blvd., Suite
          22
                                    605, West Palm Beach, FL 33401.
          23

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            1                                    REQUESTS FOR PRODUCTION
            2           1.     All Communications between You and the PGA Tour, the USGA, the Royal & Ancient,

            3    Augusta National, the PGA of America, OWGR, PGA Tour Board members, other PGA Tour

            4    Members, and/or the European Tour relating to LIV Golf, Saudi Arabia, the Public Investment Fund

            5    of the Kingdom of Saudi Arabia, Majed Al Sorour, Yasir Al-Rumayyan, Golf Saudi, the Premier Golf

            6    League, golfers who joined or considered joining LIV Golf or the Premier Golf League, consequences

            7    for golfers joining LIV Golf or the Premier Golf League, the PGA Tour’s response to potential

            8    competition, PGA 2.0, PGA Tour Designated Events, the Strategic Alliance, and/or the TGL.

            9           2.     All Communications between You and anyone relating to or referencing a threat, risk,

          10     or imposition of a consequence if You or someone else contract with or join LIV Golf.

          11            3.     All Documents and Communications relating to Your interest in LIV Golf.

          12            4.     All Documents and Communications relating to Your decision to play or not to play in

          13     LIV Golf.

          14            5.     All Communications with Jay Monahan.

          15            6.     All Communications with Seth Waugh.

          16                                          DEPOSITION TOPICS

          17            1.     LIV Golf, Premier Golf League, and any other actual or potential PGA Tour competitor,

          18     including the PGAT Tour’s actual or contemplated response to that actual or potential competitor.

          19            2.     Saudi Arabia, the Public Investment Fund of the Kingdom of Saudi Arabia, Majed Al

          20     Sorour, Yasir Al-Rumayyan, and Golf Saudi.

          21            3.     PGA 2.0, PGA Tour Designated Events, the Strategic Alliance and/or the TGL, as well

          22     as the media rights of players who play on the PGA Tour.

          23            4.     Communications with PGA Tour, the USGA, the Royal & Ancient, Augusta National,

          24     the PGA of America, OWGR, PGA Tour Board members, other PGA Tour Members, and/or the

          25     European Tour.

          26

          27

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